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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OHIO
                                EASTERN DIVISION


FALENCIA A. FAIR,                            :
                                             :
               Plaintiff,                    :
                                                   Case No. 1:16-cv-00186-CAB
                                             :
         v.                                  :     Judge Christopher A. Boyko
                                             :
THE OHIO BELL TELEPHONE
                                             :
COMPANY,                                           Magistrate Judge William H.
                                             :
                                                   Baughman
               Defendant.                    :
                                             :
                                             :

                   DEFENDANT’S BRIEF IN OPPOSITION
        TO PLAINTIFF’S REQUEST FOR ADDITIONAL TIME TO OBTAIN
     COUNSEL AND MOTION TO DISMISS PURSUANT TO FED. R. CIV. P. 41(b)

         Defendant, The Ohio Bell Telephone Company, respectfully requests that (1) the

Court deny Plaintiff’s Request for Additional Time to Obtain Counsel; and (2) grant

Defendant’s Motion to Dismiss Pursuant to Fed. R. Civ. P. 41(b) for Plaintiff’s failure to

prosecute this matter which has been pending, with almost no action, for more than two

years.

I.       PROCEDURAL HISTORY

         Plaintiff filed this action on January 26, 2016. Plaintiff failed to serve the three

named Defendants 1 with a summons and copy of the Complaint as required by Fed. R.

Civ. P. 4. Plaintiff then filed two motions to stay – one for 90 days and the second for 60

days, both of which were granted by the Court. (ECF Nos. 5-8). After the second stay


        The original Complaint named two individual Defendants, Victoria Green and
         1

Lashon Borom, both of whom were dismissed with prejudice by Plaintiff on January 19,
2018. (ECF Nos. 34, 35).
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was lifted on August 9, 2016, Plaintiff again failed to serve Defendants or otherwise

pursue the lawsuit.

      On September 22, 2016, Defendants filed a Motion to Dismiss under Fed. R. Civ.

P. 12(b)(5) for failure to serve Defendants within the period required by Fed. R. Civ. P.

4(m). (ECF No. 9).    On August 22, 2017, 19 months after Plaintiff first filed her

Complaint, the Court “denied without prejudice” Defendants’ Rule 12(b)(5) motion and

ordered Plaintiff to complete service by September 25, 2017. (ECF No. 14). But, again,

Plaintiff failed to perfect service by the Court’s deadline and, instead, filed another

motion requesting additional time to serve Defendants. (ECF No. 18). 2 Defendants

opposed Plaintiff’s Motion and renewed their Rule 12(b)(5) Motion to Dismiss on

September 26, 2017. (ECF No. 19). The Court granted Plaintiff’s Motion and ordered

she complete service by October 17, 2017. (ECF No. 20). 3 When Plaintiff failed to

complete service for the fourth time, Defendants filed a Motion to Dismiss under Rule

12(b)(6) on October 20, 2017. (ECF No. 22). Plaintiff finally served the Complaint and

Summons on Defendants on October 27, 2017. (ECF No. 23). Plaintiff then filed a

Motion for Leave to File an Amended Complaint, which the Court granted on

November 20, 2017. (ECF No. 26). Plaintiff voluntarily dismissed with prejudice the

individual defendants on January 19, and Ohio Bell filed its Answer to Plaintiff’s

Amended Complaint on January 23, 2018.

      2 Attorney James Hux entered a notice of appearance on September 8, 2017 (21
months after Plaintiff filed her lawsuit). Plaintiff was pro se before retaining Attorney
Hux.
      3 The Court did not rule on Defendant’s renewed Rule 12(b)(5) Motion to

Dismiss.

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       On March 27, 2018, just six months after entering his notice of appearance,

Attorney Hux, filed a Motion to Withdraw as Counsel for Plaintiff. (ECF No. 39). The

Motion was granted on March 29, 2018, and the Court allowed Plaintiff a 30-day stay

(the third stay of this matter), until May 7, 2018, to secure different counsel. (See ECF

Nos. 41-43). Plaintiff now seeks an indefinite stay to secure legal counsel. This is the

fourth time Plaintiff has sought a continuous of this lawsuit in the 28 months that it has

been pending. In support of her request, Plaintiff states that she had a meeting with a

law firm scheduled on May 8, 2018.

II.    PLAINTIFF’S MOTION FOR AN INDEFINITE CONTINUANCE SHOULD
       BE DENIED.

       Plaintiff fails to provide good cause as to why this case should be stayed further.

She was provided ample time in which to retain different counsel, and she failed to

meet the Court’s deadline. Further, the Court already ruled on what will occur if

Plaintiff did not retain counsel by May 7: “Plaintiff shall obtain counsel within thirty

days of service or shall proceed pro se” (emphasis added). As Plaintiff did not retain

counsel, she must proceed pro se (until such time as she retains counsel, if ever). Any

further delay will result in a gross miscarriage of justice for Defendant.       Locating

witnesses will be significantly more difficult than it would have been had Plaintiff

followed the timing requirements for service and pursued this litigation at the time she

initially filed her Complaint. Additionally, witnesses inherently remember less over

time, particularly when they have not been deposed or been asked about the relevant




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facts for several years.    Such losses work to Defendant’s detriment and Plaintiff’s

benefit.

III.    PLAINTIFF’S CLAIMS AGAINST OHIO BELL SHOULD BE DISMISSED
        WITH PREJUDICE FOR FAILURE TO PROSECUTE.

        There is no justifiable excuse for Plaintiff’s failure to prosecute her claims in the

28 months since she initiated this lawsuit and dismissal is now proper. “The decision to

dismiss for want of prosecution turns on (1) whether the party's failure is due to

willfulness, bad faith, or fault; (2) whether the adversary was prejudiced by the

dismissed party's conduct; (3) whether the dismissed party was warned that failure to

cooperate could lead to dismissal; and (4) whether less drastic sanctions were imposed

or considered before dismissal of the action.” Keaton v. Bennett, 322 F.R.D. 303, 304

(N.D. Ohio 2017) citing Carpenter v. City of Flint, 723 F.3d 700, 703–04 (6th Cir. 2013). A

“clear pattern of delay” justifies dismissal. Id. Likewise, a plaintiff’s failure to abide by

court orders and rules and procedures amounts to bad faith. See Wu v. T.W. Wang, Inc.,

420 F.3d 641, 643 (6th Cir. 2005) (to amount to willfulness or bad faith, the party's

conduct “must display either an intent to thwart judicial proceedings or a reckless

disregard for the effect of his conduct on those proceedings”). See also Chambers v.

Nasco, Inc., 501 U.S. 32, 49 (1991) (noting that “a federal district court has the inherent

power to dismiss a case sua sponte for failure to prosecute” as recognized in Link v.

Walbash R. Co., 370 U.S. 626, 629–32 (1962)). “This measure is available to the district

court as a tool to effect management of its docket and avoidance of unnecessary




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burdens on the tax-supported courts and opposing parties.” Knoll v. AT & T, 176 F.3d

359, 63 (6th Cir. 1999).

       Here, Plaintiff acted in bad faith by repeatedly requesting delays and taking no

action to pursue her claims. Indeed, Plaintiff has served no discovery requests on

Defendant or requested depositions, and her Rule 26 Initial Disclosures are grossly

insufficient to put Defendant on notice of the witnesses and documents she believes will

support her claims, or the amount of damages for which she believes Ohio Bell is liable.

Certainly in the 28 months since this case was first filed, Plaintiff has been able to

identify how she intends to prove her claims and the amount of her purported

damages.    Further, as stated above, Defendant has been profoundly prejudiced by

Plaintiff’s more than two-year delay, with witnesses moving or their memories fading.

Plaintiff was aware that her continued failure to proceed with this litigation could lead

to its dismissal as Defendant has briefed and asked this Court to dismiss Plaintiff’s case

on no less than three occasions. At this juncture, with Plaintiff’s bold-faced attempt to

unnecessarily delay this litigation again, dismissal is the only appropriate sanction.

IV.    CONCLUSION

       Defendant requests that pursuant to Fed. R. Civ. P. 41(b), the Court dismiss with

prejudice Plaintiff’s claims against Defendant Ohio Bell. In the alternative, Defendant

requests that the Court deny Plaintiff’s Request for Additional Time to Obtain Counsel

and direct the parties to proceed with discovery pursuant the Court’s existing Case

Management Order.




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                                      Respectfully submitted,



                                      /s/ Amy Ryder Wentz
                                      Amy Ryder Wentz (0081517)
                                      LITTLER MENDELSON, P.C.
                                      1100 Superior Avenue, 20th Floor
                                      Cleveland, OH 44114
                                      Telephone: 216.696.7600
                                      Facsimile: 216.696.2038
                                      awentz@littler.com

                                      Attorney for Defendant
                                      THE OHIO BELL TELEPHONE
                                      COMPANY




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                              CERTIFICATE OF SERVICE

       I hereby certify that on this 10th day of May 2018, a copy of the foregoing

Defendant’s Brief in Opposition to Plaintiff’s Request for Additional Time to Obtain Counsel

and Motion to Dismiss Pursuant to Fed. R. Civ. P. 41(b) was filed electronically. Notice of

this filing will be sent to all parties by operation of the Court’s electronic filing system.

Parties may access this filing through the Court’s system.


                                          /s/ Amy Ryder Wentz
                                          Amy Ryder Wentz

                                          Attorney for Defendant
                                          THE OHIO BELL TELEPHONE COMPANY




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